Case 7:24-cv-00321-DC-RCG Document 1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF WESTERN TEXAS

Filed 12/06/24 Page 1 of 60

FILED
DEC 06 2024

CLERK, U.S. DISTRIQT COURT
WESTERN DI XAS

Danielle D Spears,

Plaintiff,
V.

SECURITIES & EXCHANGE COMMISSION,
GARY GENSLER

FINANCIAL INDUSTRY REGULATORY
AUTHORITY, ROBERT W COOK,
DEPOSITORY TRUST & CLEARING
CORPORATION,

CHARLES SCHWAB & CO., INC.,

formerly TD AMERITRADE,

EQUINITI TRUST COMPANY, formerly AMERICAN

STOCK TRANSFER & TRUST COMPANY,
NEXT BRIDGE HYDROCARBONS, INC.,
GREGORY MCCABE, JOHN BRDA,

GTS SECURITIES LLC., ARI RUBENSTEIN,

Defendants.

BY

Case No.: ~) ‘Mtw-se \

COMPLAINT FOR
VIOLATIONS OF THE
FEDERAL SECURITIES
LAWS

JURY TRIAL DEMANDED

I. PARTIES

1. Plaintiff Danielle D. Spears (hereinafter referred to as "Plaintiff" or "Spears"). Spears is a

shareholder of Next Bridge Hydrocarbons. She retains 100 shares at her brokerage,

Charles Schwab as well as 7200 shares at AST/EQ.

Address: 12206 W. Harrison Street, Avondale, Arizona, 85323.

2. Defendant Securities and Exchange Commission (SEC)

The Securities and Exchange Commission (hereinafter referred to as "Defendant" or "SEC") 1s a

federal agency responsible for enforcing securities laws, regulating the securities industry, and
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ensuring market integrity. The SEC is also charged with protecting retail investors and ensuring

fair and orderly market functioning.
Address: Headquartered at 100 F Street NE, Washington, D.C., 20549,
3. Defendant Gary Gensler

Gary Gensler (hereinafter referred to as "Defendant" or "Gensler") is the Chairman of the
Securities and Exchange Commission (SEC). In his official capacity, Gensler is responsible for
overseeing the agency's enforcement of federal securities laws. Under his leadership, the SEC
monitors market practices and works to ensure transparency, fairness, and compliance with

securities regulations.
Address: The SEC is headquartered at 100 F Street NE, Washington, D.C., 20549,

4. Defendant Financial Industry Regulatory Authority (FINRA)

The Financial Industry Regulatory Authority (hereinafter referred to as "Defendant" or
"FINRA") is a self-regulatory organization authorized by the SEC to oversee broker-dealers and
ensure compliance with federal securities laws. FINRA's responsibilities include market

regulation, investor protection, and the enforcement of securities laws.
Address: Headquartered at 1735 K Street NW, Washington, D.C., 20006.

5. Defendant Robert W. Cook

Robert W. Cook (hereinafter referred to as "Defendant" or "Cook") is the President and Chief
Executive Officer of the Financial Industry Regulatory Authority (FINRA). Cook oversees
FINRA's regulatory functions, including enforcing compliance with FINRA’s rules and
promoting fair market practices. FINRA’s mission is to protect investors and maintain market

integrity.
Address: Headquartered at 1735 K Street NW, Washington, D.C., 20006.
6. Defendant Depository Trust & Clearing Corporation

The Depository Trust & Clearing Corporation (hereinafter referred to as "Defendant" or

"DTCC") is a financial services organization that provides clearing, settlement, and
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information services for securities trading in the United States.
Address: Headquartered at 55 Water Street, New York, NY, 10041-0024.

7. Defendant Next Bridge Hydrocarbons, Inc.

Next Bridge Hydrocarbons, Inc. (NBH) (hereinafter referred to as "Defendant" or "NBH") was
formed as part of a corporate spin-off from Meta Materials, Inc., to provide MMTLP
shareholders private ownership of its oil and gas assets. NBH is a private oil and gas

exploration and development company incorporated in Nevada.
Address: 500 W. Texas Avenue, Suite 890, Midland, TX, 79701.
8. Defendant Greg McCabe

Greg McCabe (hereinafter referred to as "Defendant" or "McCabe") is the CEO and
Chairman of NBH and the President of McCabe Petroleum Corporation.

Address: 500 W. Texas Avenue, Suite 1020, Midland, TX, 79701.
9. Defendant John Brda

John Brda (hereinafter referred to as "Defendant" or "Brda") is the former CEO of
Torchlight Energy Resources, Inc. Brda is responsible for the creation of the Non voting Series A
Preferred Shares that became known as MMTLP. Immediately following the merger, Brda was

hired as paid consultant to Meta Materials, inc.
Address is 1425 Frontenay Ct., St. Louis, MO, 63122-1623.
10. Defendants GTS Securities

GTS Securities (hereinafter referred to as "Defendant" or "GTS") is a market maker
operating on the New York Stock Exchange. GTS initiated unauthorized trading of
MMTLP shares on the OTC market without company approval.

Address: Headquartered at 545 Madison Avenue, 15th Floor, New York, NY, 10022.

11. Defendant Ari Rubenstein

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Ari Rubenstein (hereinafter referred to as "Defendant" or "Rubenstein") is the CEO of GTS
Securities and oversees operations at a market-making firm that facilitates liquidity and trading
in financial markets. GTS operates under regulatory frameworks designed to maintain orderly

markets and fulfill market maker responsibilities.
Address: Headquartered at 545 Madison Avenue, 15th Floor, New York, NY, 10022.
12. Defendant Charles Schwab & Co., Inc.

Charles Schwab & Co., Inc. (hereinafter referred to as "Defendant" or "Schwab") is a
broker-dealer with fiduciary duties to Spears. Other responsibilities as a broker in the US is to
provide clients, like Spears, with clear communication and disclosure, handling of funds &
securities, conflict of interest mitigation, account protection, trade execution and settlement,
maintenance of account records, providing research and educational resources, compliance with

regulatory standards and protection against fraud.
Address: Headguartered at 3000 Schwab Way, West lake, Texas 76262.
13. Defendant American Stock Transfer & Trust Company, aka Equiniti Group

American Stock Transfer & Trust Company, now Equiniti Group (hereinafter referred to as
“Defendant” or “AST/EQ”) is the transfer agent responsible for managing the transition of
MMTLP shares to Next Bridge Hydrocarbons. AST/EQ is directly contracted by the NBH. They
have a fiduciary duty to act in the company’s best interests. This includes maintaining accurate
records of securities ownership, processing transfers, and ensuring compliance with securities
laws and corporate governance requirements. AST/EQ also has an obligation to shareholders.
These obligations include managing share transfers and distributions. Providing accurate
information regarding ownership and entitlements as well as preventing fraud or improper
transfers.

Address: Headquartered at 6201 15th Avenue, Brooklyn, NY, 11219.
Il. JURISDICTION AND VENUE

1. Federal Question Jurisdiction
Jurisdiction is proper under 28 U.S.C. § 1331 as this action arises under federal law,

including violations of the Securities Exchange Act of 1934 (15 U.S.C. § 78), the Sherman
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Antitrust Act (15 U.S.C. §§ 1-2), and the Clayton Act (15 U.S.C. §§ 12-27). Supplemental

jurisdiction over any related state law claims is proper under 28 U.S.C. § 1367.

2. Diversity Jurisdiction

Diversity jurisdiction is proper under 28 U.S.C. § 1332(a) because the amount in controversy
exceeds $75,000, exclusive of interest and costs, and there is complete diversity of citizenship
between the Plaintiff, a resident of Arizona, and Defendants, whose principal places of business
are located in other states, including but not limited to Texas, Missouri, New York, and

Washington, DC.
3. VENUE

Venue is proper in the United States District Court for the Western District of Texas under 28
U.S.C. § 1391(b) because the Defendants conduct substantial business within this District, and a
substantial part of the events or omissions giving rise to the claims occurred within this
jurisdiction.

lit. ALLEGATIONS

1. This action arises from a coordinated and systemic scheme involving market manipulation,
regulatory negligence, breaches of fiduciary duties, and violations of constitutional protections,
collectively undermining the integrity of U.S. financial markets. The Plaintiff, Danielle D Spears,
a retail investor, brings this action to hold the Defendants accountable for their respective roles in

perpetuating widespread misconduct that caused significant financial harm to retail investors.

2. The named Defendants created and executed an environment designed to benefit

institutional participants while providing a disadvantage to retail investors. Through a
combination of deceptive practices, regulatory failures, and improper trading mechanisms, these
entities and individuals acted in concert to manipulate markets, obscure material information,

and undermine shareholder protections.

3. By exploiting their positions of authority and trust, the Defendants facilitated the
mishandling of securities such as MMTLP, engaged in deceptive corporate transactions, and
obstructed transparency, all to the detriment of retail investors. Defendants and associated

entities failed to address systemic irregularities such as synthetic shares, unresolved trade

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settlements, improper account reconciliations, and the financial harm inflicted on retail investors.
This failure constitutes violations of federal securities and antitrust laws, directly causing

significant financial harm to the Plaintiff.

4. Instead of facilitating an orderly transition to private ownership following the spin-off, market
makers, broker-dealers, and regulatory entities manipulated MMTLP shares through practices
such as synthetic share creation and naked short selling, flooding the market with counterfeit

shares.

5. These manipulative practices suppressed legitimate share prices and deprived shareholders of

the true value of their investments.

6. A pivotal event in this scheme was FINRA’s issuance of a U3 trading halt on December 9,
2022, indefinitely freezing trading of MMTLP shares. Citing an undefined "extraordinary event,"
FINRA imposed the halt without providing transparency or resolution, leaving tens of thousands

of investors unable to access their assets.

7. This action was flawed procedurally and is believed to be unconstitutional. As a private
self-regulatory organization, FINRA exercised quasi-governmental powers without the oversight
required by:

a. The separation of powers doctrine,

b. The Appointments Clause, and

c. The private non-delegation doctrine.

8. FINRA’s indefinite U3 trading halt on MMTLP shares deprived investors of access to
their assets without adequate explanation or resolution. This halt exemplifies the unchecked
powers of a self-regulatory organization operating without sufficient oversight, raising
constitutional concerns under the separation of powers, the Appointments Clause, and the

private non-delegation doctrine.

9. Recent legal precedents, including SEC v. Sloan and Alpine Securities Corp. v. FINRA,

underscore the statutory and constitutional violations inherent in FINRA’s actions.

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10. The U3 halt and regulatory inaction violated fundamental investor
protections, statutory mandates, and constitutional principles. This indefinite trading halt mirrors
the statutory violations identified in Sloan, where the Supreme Court condemned the SEC for

unlawfully extending a trading halt.

11. Broker-dealers, including Charles Schwab, and market makers like GTS Securities,
engaged in coordinated efforts to manipulate the trading of MMTLP shares, profiting from

artificial supply at the expense of retail investors.

12. Vertically aligned regulatory bodies, including the SEC and DTCC, failed to enforce
compliance, investigate irregularities, or resolve discrepancies in shareholder accounts, allowing
market manipulation to flourish unchecked in violation of antitrust laws and federal securities

statutes.

13. The role of corporate leadership at Meta Materials, Inc. (hereinafter referred to as
“MMAT”), Torchlight Energy (hereinafter referred to as “TRCH”), and Next Bridge
Hydrocarbons (hereinafter referred to as “NBH”), whose failures to address trading
irregularities, reconcile shareholder discrepancies, and ensure accountability exacerbated the
harm suffered by investors. These leaders neglected their fiduciary duties, misrepresented the
financial prospects of their assets, and allowed discrepancies in share reconciliation to persist,

leaving shareholders in a prolonged state of uncertainty and financial distress.

14. There are systemic failures in the U.S. financial markets that have harmed retail
investors through a combination of regulatory negligence, manipulative practices, and

constitutional violations.

15. FINRA’s structural deficiencies are compounded by the failures of other regulatory
entities, including the SEC and the DTCC, to fulfill their statutory duties to protect

investors and ensure market integrity. These organizations failed to investigate or remedy
widespread irregularities such as synthetic share creation and naked short selling, which
manipulated the market for MMTLP shares. The Defendants’ inaction enabled institutional
participants to profit at the expense of retail investors, further undermining confidence in the

fairness and transparency of the markets.

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16. The harm caused by these systemic failures is both significant and ongoing. Retail

investors have been denied the ability to trade their shares, reconcile their holdings, or recover
their investments, while institutional participants who engaged in manipulative practices remain
unaccountable. The constitutional and statutory violations identified in this case are emblematic
of broader governance flaws in the financial markets, which must be addressed to protect

investors and maintain public confidence in the integrity of the system.

IV. STATEMENT OF FACTS

1. Central to this case are the Non-Voting Series A Preferred Shares(MMTLP), initially issued by
TRCH, an oil and gas exploration company. In 2021, TRCH completed a reverse merger with
MMAT, and these shares were intended to represent an interest in TRCH’s energy assets,

particularly its stake in NBH, following a corporate spin-off.

2. The shares were explicitly designed to be non-tradeable, with no market expected to be made.
They were structured as a private offering, available only to a select group of investors and not to
the general public. These shares were meant to represent the assets of NBH, a private company
who reports publicly. Investors were made to believe that assets of were to be sold and that these

shares represented the value of this future assets sale.

3. Despite nearly two years having passed since the U3 halt, no meaningful action has been taken
to address these failures. Retail investors remain in financial and legal limbo, unable to trade

their positions or reconcile share discrepancies.

4. On or about May 2, 2008, Pole Perfect Studios began filing as a private company under
Central Index Key (CIK) number 0001431959. Following its merger with TRCH On November
23, 2010, this CIK number transferred to TRCH, making it responsible for subsequent regulatory
filings.

5, On June 28, 2021, Torchlight transferred its CIK number to MMAT following their
merger. The shared use of CIK number 0001431959 by multiple entities, including
MMAT and MMTLP, constitutes a potential violation of SEC regulations, which require unique

identifiers for distinct entities. Such actions could obscure transaction records and mislead
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investors, potentially violating Rule 10b-5, which prohibits deceptive practices in securities

transactions.

6. The improper use of a CIK number undermines the record-keeping and internal control
provisions under the Securities Exchange Act of 1934, which mandate precise tracking of

securities filings and transactions to protect investors and ensure market transparency.

7. A CUSIP (Committee on Uniform Securities Identification Procedures) number is a unique
nine-character alphanumeric code assigned to financial securities in the United States and
Canada. It serves as a standardized identifier for securities such as stocks, bonds, and mutual

funds, facilitating accurate processing, clearing, and settlement of trades.

8. The CUSIP system simplifies record-keeping, reduces transaction errors, and provides a

reliable identifier for both investors and institutions.

9, Unlike CIK numbers, which identify entities filing with the SEC, CUSIP numbers
specifically identify individual financial securities. This distinction ensures clarity and

accuracy in trading and tracking within financial markets.

10. From 2010 to 2020, TRCH traded approximately 745 million shares on public
markets. This significant trading volume reflected the company’s decade-long activity in the oil
exploration sector and positioned it for the eventual merger with MMAT. The trading history

highlights the scale of its operations and shareholder engagement during this period.

11. On or about April 23, 2020, Brda, then CEO and McCabe, then Chairman of TRCH., made

public statements inflating the valuation of oil and gas properties that would later form NBH.

12. They cited a third-party reserve estimate indicating a mean case of approximately 3.678
billion barrels of oil equivalent (BOE) in recoverable reserves from unconventional zones in the
Orogrande Basin. This estimate was based on a petrophysical report prepared by Stimulation

Petrophysics Consulting.

13. Based on this reserve estimate and the 2019 average price of West Texas Intermediate
(WTI) crude oil at $56.99 per barrel, the perceived above-ground value of the Orogrande Basin

assets was approximately $209.51 billion.
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14. Using industry-standard valuations of 10-20% of the market price for oil in the
ground, the below-ground value ranged from approximately $20.96 billion to $41.92 billion,

reflecting its potential fair market value prior to extraction.

15. Statements from NBH corporate officers and social media influencers regarding the
probable reserves created high expectations about NBH’s financial prospects. These
ptojections were consistently referenced in shareholder discussions leading up to the

MMTLP transition.

16. On March 1, 2020, TRCH presented an Investor Presentation via PowerPoint and email to
interested parties, emphasizing the company’s assets in the Permian Basin, particularly the

Orogrande, Hazel, and Winkler projects.

17. The Orogrande Project was highlighted as TRCH’s flagship asset, comprising over 134,000
acres with a recoverable resource potential estimated at 3.7 billion barrels of oil equivalent in the

median case.

18. The presentation emphasized the Orogrande project’s potential to attract major
industry players for acquisitions or partnerships due to its size and resource estimates. While
acknowledging market risks, TRCH framed the central question as determining the quantity of

recoverable oil rather than its existence.

19. In June 2020, Brda and the TRCH BOD resolved to pursue a strategic initiative aimed at
stabilizing the company through a merger with MMAT, a corporation focused on advanced

technology innovations.

20. The merger was presented to shareholders as a critical measure to address alleged illegal
short selling in the market, which was portrayed as a significant threat to TRCH’s financial
stability.

21. Shareholders were led to believe that the merger would address the systemic challenges
posed by illegal short positions while transitioning the company toward a future in high-tech

innovation.

22. Shareholders were led to believe that the merger between TRCH and MMAT would

provide a pathway to resolve systemic challenges posed by illegal short positions while

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transitioning the company toward a future in high-tech innovation. This narrative was a central

aspect of the merger’s presentation to investors.

23. On December 14, 2020, TRCH, a Texas-based oil exploration company, formally

initiated a merger plan with MMAT, a Canadian high-technology materials firm. The

proposed merger was framed as a strategic opportunity to align TRCH’s traditional energy assets
with MMAT’s cutting-edge technology portfolio.

24. The merger aimed to combine TRCH’s oil and gas assets with MMAT’s advanced
materials technology to enhance shareholder value and diversify operations. This corporate
action represented a pivotal shift for both companies, laying the groundwork for the creation of

MMaAT and signaling a new strategic direction for TRCH shareholders.

25, From January 1, 2021, to June 21, 2021, TRCH traded a total of 3.6 billion shares— an
unprecedented volume compared to the company’s cumulative trading history of 745 million
shares over the prior decade. This dramatic surge in trading activity raised significant concerns

about unusual market behavior and potential trading irregularities.

26. A Z-test statistical analysis was conducted on July 14, 2024, to evaluate the trading
volumes of TRCH using historical data from 2010 to 2020 and the first half of 2021.

27. The analysis assumed an average daily trading volume variation of 5% over 10 years. It
concluded that trading 3.6 billion shares in TRCH within the six-month period from
January to June 2021 was statistically improbable without market manipulation or an

unpredictable, non-uniform events influencing the market.

28. Upon information and belief, during the first six months of 2021, naked short positions were
added to TRCH by Ari Rubenstein, in concert with others. These actions likely contributed to the
anomalous trading volumes observed during this period, further indicating potential market

manipulation.

29. On August 24, 2022, the Plaintiff signed a self-directed broker agreement with TD
Ameritrade. On October 3, 2023, following Charles Schwab’s acquisition of TD Ameritrade, the
Plaintiff entered into a similar agreement with Schwab. Both agreements include a mandatory

arbitration clause in Section 10, requiring disputes to be resolved through arbitration (e.g.,

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FINRA) and waiving the right to pursue a court case, including a jury trial, except as allowed by

the arbitration forum's rules.

30. However, under the Clayton Act, Section 3 (15 U.S.C. § 14) and the Sherman Antitrust Act,
Sections 1 and 2 (15 U.S.C. §§ 1-2), such arbitration agreements may be deemed null and void
when tied to or facilitating anti competitive conduct, including monopolistic behavior that

restrains trade or suppresses competition.

31. In June 2021, GTS, under the direction of Ari Rubenstein, and Canaccord Genuity, a
Canadian market maker, jointly filed paperwork to register the Series A Preferred Stock for
trading on the Over-The-Counter (OTC) market for NASDAQ, without authorization or
permission from MMAT or TRCH executives.

32. GTS and Canaccord Genuity relied on outdated, decade-old information in violation of
FINRA rules and submitted falsified Form 211 filings to enable the trad-ability of the shares that
would later become MMTLP.

33. In a letter dated June 21, 2021, the Options Clearing Corporation (OCC) explicitly stated that

the Series A Preferred Shares were not intended to trade.

34. However, the same letter informed options traders that they were not required to close
out short positions through the merger until what would become "MMTLP" could trade on the

OTC market. This directive contradicted the intentions and filings of the merged companies.

35, The OCC memorandum, dated June 21, 2021, was exclusively shared with market makers
and hedge funds, including GTS and Ari Rubenstein.

36. Under Ari Rubenstein's supervision, GTS was obligated to record all short sales,
including naked shorts. GTS was granted additional time to close out fails-to-deliver (FTDs)

under the market maker exemption rule.

37. Pursuant to FINRA Rule 204(b), market makers engaged in bona fide market-making
activities are provided exceptions allowing additional time to close out fails-to-deliver

resulting from such activities.

38. However, market makers are required to maintain daily records of their FTDs and report

them as necessary to ensure transparency and regulatory oversight.

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39, The Depository Trust & Clearing Corporation (DTCC) is responsible for maintaining precise
and comprehensive records of securities trades and ensuring the efficient recovery and
dissemination of information related to securities transactions in U.S. stock markets. This

obligation is critical for promoting transparency and regulatory compliance.

40. On June 25, 2021, the CIK number 0001431959 transitioned again when TRCH
conducted a reverse takeover (RTO) with MMAT.

41. The shared use of CIK number 0001431959 among multiple entities, including Pole
Perfect, TRCH, and MMAT, constitutes a potential violation of SEC regulations requiring unique

identifiers for separate entities.

42. Such actions obscure transaction records and mislead investors, violating the Rule 10b-5

prohibition on deceptive practices in securities transactions.

43. During the merger of TRCH and MMAT, McCabe, a key executive and shareholder, publicly
emphasized the significant potential value of the Orogrande Basin oil and gas assets. He
highlighted probable oil reserves and other unproven assets, framing the basin as a critical

component of the merger.

44, However, public filings and disclosures at the time valued the Orogrande Basin assets
at $47 million—significantly lower than the estimated $20.96 billion to $41.92 billion based on

below-ground valuation of probable reserves.

45. Subsequent disclosures during the NBH spin-off revealed notable discrepancies in these

valuations, raising concerns about the accuracy and transparency of the initial assessments.

46. On June 28, 2021, MMTLP shares were created as part of the spin-off in which TRCH

transitioned specific assets into NBH.

47. These shares, designated as Series A Preferred Shares, were intended to represent private

ownership in NBH and were explicitly not meant to trade publicly.

48. Despite directives in TRCH’s proxy statement, GTS and Canaccord Genuity began
publicly trading MMTLP shares on October 6, 2021.

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49, On October 7, 2021, MMTLP began trading on OTC markets under the shared CIK
number 0001431959, the same identifier previously used by Pole Perfect, TRCH, and
MMAT.

50. This use of a shared CIK raises significant compliance concerns with SEC filing rules,

including potential violations of Regulation S-T Rule 10(b) and Rule 10b-5.

51. On or about October 7, 2021, GTS and Canaccord Genuity facilitated unauthorized public
trading of MMTLP shares on the OTC market, actions not approved by TRCH or MMAT

executives.

52. Brda, former CEO of TRCH, notified OTC Markets of the unauthorized trading. OTC
Markets directed him to FINRA, which subsequently informed Brda that he lacked standing to
file a formal complaint as he was no longer CEO. This unauthorized listing caused significant

trading irregularities and investor confusion.

53. From October 7, 2021, to December 9, 2022, GTS engaged in trading activities that

resulted in the creation of synthetic shares, exceeding the authorized float of MMTLP shares.

54, Between October 2021 and December 2022, GTS, operating under its market maker
exemption, engaged in trading activities involving synthetic MMTLP shares. These shares were

created without the required "locates," exceeding the authorized float of legitimate shares.

55. From October 1, 2022, to December 8, 2022, MMTLP stock experienced significant
volatility, with prices ranging from a low of $2.85 to a high of $12.50, raising questions about

potential market manipulation.

56. During this period, the market capitalization of MMTLP, a relatively obscure oil and gas
exploration company, fluctuated between approximately $1.5 billion and $6.5 billion.

57. Given the company's total authorized share count of 165.5 million, this level of market
capitalization and price volatility suggests the influence of synthetic (rehypothecated) shares or

naked short selling on the stock.

58. Between November 15 and December 5, 2022, Brda sold approximately 300,000 shares of
MMTLP. During this period, the trading price ranged between $2.90 and $9.90, generating
proceeds estimated between $870,000 and $2,970,000.

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59. Publicly available social media posts from this time frame show that Brda encouraged other

investors to purchase MMTLP shares while denying that he had sold any of his own shares.

60. Brda later acknowledged selling a portion of his holdings during the price increase leading up
to the FINRA-imposed U3 halt, contradicting his earlier public statements.

61. On November 23, 2023, MMTLP shareholders were advised to transfer their shares to the
transfer agent, American Stock Transfer & Trust Company (AST), now operating as Equiniti
Trust Company (EQ), to facilitate the distribution of NBH shares.

62. Shareholders were told that this transfer process was intended to streamline the
corporate action and ensure shareholders received their NBH shares directly from the

transfer agent.

63. McCabe informed shareholders that they would receive bonus shares of NBH on a one for
one basis of NBH to Newco as an incentive for transferring their shares to AST-EQ. However,
these bonus shares were never delivered, raising concerns about the accuracy of representations

made to shareholders.

64. On November 30, 2022, McCabe sold approximately 6.8 million shares of MMTLP from his
total holdings of 18,758,249 shares, representing 11.37% of the float. On that date, the trading
price ranged between $7.76 and $10.00.

65. Based on this price range, McCabe's transactions generated proceeds estimated
between $52,768,000 and $68,000,000. Under SEC rules regarding beneficial ownership,

McCabe was required to report these share transactions, as he held more than 5% of the float.

66. A series of emails obtained through a Freedom of Information Act (FOIA) request
revealed that, on December 5, 2022, individuals at both the SEC and FINRA, including Mr.
Sam Draddy, Ms. Patti Casimates, Mr. Richard Boyle, Mr. Jay Gibbons, and an unidentified
redacted individual, were aware of fraudulent activities affecting the trading of MMAT and
MMITLP shares.

67. These emails provide insight into regulatory awareness of market irregularities leading up to

the FINRA-imposed U3 trading halt.

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68. The awareness reflected in these emails implies that FINRA Blue Sheets, formally known as
Electronic Blue Sheet (EBS) data, were in use as early as December 5, 2022, and potentially

earlier.

69. Blue Sheets, which are reports broker-dealers submit to regulators such as FINRA and the
SEC, contain detailed trade information, including the identity of the buyer and seller, trade size,

trade price, and other transaction-specific details.

70. The purpose of Blue Sheets is to assist regulators in monitoring markets, detecting
suspicious trading activity, and investigating potential securities violations such as market

manipulation or insider trading.

71. Blue Sheets are critical for ensuring transparency and accountability in financial
markets, enabling regulators to reconstruct trading activity and identify patterns of
misconduct. Their role is particularly significant in cases involving allegations of synthetic share

creation or naked short selling.

72. The corporate action further specified that MMTLP shares would be canceled on
December 13, 2022, with a pay date for NBH shares or dividends set for December 14, 2022.

73. On December 8, 2022, Jeff Mendl, Vice President of OTC Markets, stated on Trader TV
that MMTLP shares were approved to trade through December 12, 2022, as part of a FINRA
approved corporate action. Mendl confirmed that MMTLP would no longer be available for
trading on the OTC market starting December 13, 2022, and that the shares were planned to be
deleted following that date.

74. On December 8, 2022, FINRA failed to attend a scheduled meeting with the DTCC and
attorneys representing MMAT to address unresolved issues surrounding the MMTLP corporate

action.

75, Later that same day, FINRA issued a revised corporate action notice, altering the
language to state that "the symbol will be DELETED," replacing the previous notice that
indicated MMTLP shares would be "CANCELED" upon conversion to NBH shares.

76. This revision omitted the originally specified December 14, 2022, pay date, further

confusing shareholders and creating uncertainty about the transition process.

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77. At the close of trading on December 8, 2022, deal-broker Level 2 data revealed that short
position holders in MMTLP utilized the 505 code. This is commonly referred to as short on
shares or S.O.S. to signal a heightened urgency to close their positions. The data showed
transaction prices reaching and exceeding 100 times the closing price of $2.90 per share (e.g.,

$290.00+ per share), an extraordinary deviation indicative of a severe short squeeze.

78. Furthermore, after December 8, 2022, limit orders ranging from less than $100 to as much
as $200,000 per share were submitted through various brokerages but were marked as “too late
to cancel.” This indicated significant irregularities in the handling of MMTLP trades, impacting

shareholder ability to access or execute transactions.

79. Many MMTLP traders, including the Plaintiff, held their shares with the intent to

execute opportunity trades—to sell rather than buy—on December 9 and 12, 2022. These
shareholders were prepared to accept the best possible offers for their trades before the close of
all trading on December 12, 2022, as specified in the approved corporate action referenced

above.

80. On December 9, 2022, FINRA imposed a U3 trading halt on MMTLP shares. As a
self-regulatory organization operating under delegated authority from the SEC, FINRA
justified the halt by citing "extraordinary circumstances." This action left investors unable

to access their investments, with no clear resolution provided.

81. FINRA justified the U3 trading halt with the following statement:

“FINRA has determined that an extraordinary event has occurred or is ongoing that has caused
or has the potential to cause significant uncertainty in the settlement and clearing process for
shares of MMTLP and that, therefore, halting trading and quoting in MMTLP is necessary to

protect investors and the public interest.”

82. In the same FINRA notice announcing the halt of MMTLP dated December 9, 2022, FINRA
clarified that the trading halt would remain in effect until the deletion of _MMTLP, scheduled
for December 13, 2022.

83. Any subsequent reference to the FINRA U3 halt after December 13, 2022, is acknowledged
as accurate in form. However, for the purposes of this complaint, it is considered a matter of

semantics, as the halt was officially lifted on that date. Despite this, no further action, remedy, or

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resolution has been undertaken as of December 4, 2024, leaving the matter unresolved for a total

of 726 days.

84. FINRA’s authority to issue such halts is derived from its statutory role under the
Securities Exchange Act of 1934, and the halt applied to securities trading across the U.S.

financial markets.

85. While the halt was ostensibly intended to address market irregularities, FINRA’s
structure as a private entity wielding quasi-governmental powers without direct executive

oversight raises questions under the separation of powers doctrine.

86. As a privately governed organization, FINRA’s Board of Governors is neither appointed by
the President of the United States nor subject to the checks and balances typically applied to
federal agencies. This structure prompts constitutional considerations relevant to FINRA’s

governance and actions.

87. From its establishment as an SRO (self-regulatory organization) under the Maloney Act
amendments to the Securities Exchange Act of 1934, FINRA has exercised significant regulatory
powers. These include the ability to enact rules, conduct investigations, and impose

sanctions—functions typically reserved for federal agencies.

87. These powers were evident during FINRA’s issuance of the U3 trading halt on
MMTLP shares on December 9, 2022, an action with significant financial and legal

implications for investors.

89. However, FINRA’s governance by a private, membership-based Board of Governors raises
structural questions about its authority to take such impactful actions. This board is neither
appointed by the President of the United States nor confirmed by the Senate, operating outside
the framework outlined in the Appointments Clause of the U.S. Constitution, which ensures

accountability for individuals wielding significant federal authority.

90. In the week following the FINRA U3 halt, Schwab sent emails to MMTLP shareholders,
including Ms. Gwendolyn Mickens and Mr. Anthony Erbacher, stating that even if the U3 halt

were resolved, Schwab would not permit shareholders to trade MMTLP shares.

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91. Although NBH submitted and received approval for its S-1 filings and amendments in 2022,
position-close-only restrictions were not enforced for MMTLP shares prior to the U3 halt. Such
restrictions could have limited new short positions and helped stabilize the market during the

transition.

92. On February 6, 2023, Cromwell Coulson, President of OTC Markets, publicly
acknowledged via a tweet that short positions still existed in NBH, despite its status as a private

company not intended for public trading.

93, Coulson further stated that resolving these short positions would be "easier if NBH shares
became publicly trade-able," implicitly highlighting the complications caused by FINRA’s

trading halt of MMTLP shares and the unresolved discrepancies in share counts.

94, FINRA released its initial FAQ regarding the MMTLP corporate action and U3 trading halt
on March 16, 2023, 97 days after the halt was imposed. The FAQ failed to clearly define the
"extraordinary event" that justified the halt, leaving shareholders without sufficient clarity or

explanation.

95, Despite receiving thousands of complaints from shareholders via Schwab, FINRA, the SEC,
and Congressional Representatives, this FAQ remains, to date, FINRA’s only significant

communication with shareholders regarding the halt.

96. On February 20, 2023, Fleming, a TD Ameritrade (later Schwab) employee, admitted during
a conversation with Traudt that the U3 halt of MMTLP trading on December 9, 2022, was
requested by broker-dealers to "protect ourselves," directly acknowledging that institutional

interests, rather than retail investor protection, were the primary motivation.

97. This conversation, recorded by TD Ameritrade (TDA) and later Schwab, was initially made
available for playback at Traudt’s request but was subsequently denied. (Traudt v. Rubenstein,

2024)

98. In March 2024, Traudt again sought access to these recordings from Schwab’s trade desk,
which had acquired TD Ameritrade. Schwab also refused to release the audio. These repeated
refusals suggest a coordinated effort to suppress evidence that could reveal the reasons behind

the trading halt. (Traudt v. Rubenstein, 2024)

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99. On April 1, 2023, documents released through a Freedom of Information Act (FOTA)
request revealed that the SEC and FINRA were aware of trading irregularities related to MMTLP

as early as November 2021.

100. High-ranking officials, including SEC Chairman Gary Gensler and FINRA President Robert
W. Cook was documented as having knowledge of these issues. Despite this, no substantive
action was taken to address the irregularities or inform the investing public, exacerbating market

confusion and investor harm.

101. On April 18, 2023, Clifton DuBose, CEO of NBH, sent a letter to FINRA requesting
assistance in addressing unresolved issues arising from the MMTLP spin-off. The letter

specifically asked for access to the Blue Sheets, which contain detailed trade data.

102. In the context of MMAT and its preferred shares MMTLP, Blue Sheets could
provide critical insights into trading activities during the period of alleged market manipulation

and synthetic share creation.

103. For example, during the two-day trading window for MMTLP in December 2022, which
ended with FINRA’s U3 trading halt, Blue Sheets could reveal the number of trades executed, the
counter-parties involved, and whether the transactions involved legitimate shares or synthetic

ones.

104. Given allegations of naked short selling and the creation of synthetic shares, a
regulatory analysis of Blue Sheets would expose discrepancies between the total volume of
shares traded and the actual number of legitimate shares issued, or it could disprove such

allegations.

105. If regulators were to release Blue Sheets for MMAT and MMTLP, they could

uncover the extent of market irregularities alleged by retail investors and advocacy groups.

106. For instance, these records might highlight unusually high trade volumes that

exceeded the total outstanding shares, corroborating claims of synthetic shares.

107. Furthermore, the data could reveal whether broker-dealers and market makers
engaged in practices such as failure-to-deliver (FTD) settlements or improper short selling,

which may have depressed the stock price or caused financial harm to shareholders.

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108. The lack of Blue Sheet transparency in the MMTLP case has been a critical point of
contention for investors seeking clarity regarding the abrupt U3 trading halt and its impact on

their holdings.

109. The release of Blue Sheets for MMTLP and MMAT would provide a definitive
account of trading activity, enabling allegations of irregularities, such as synthetic share

creation or naked short selling, to be substantiated or dis-proven.

110. Access to this data would not only clarify trading activity but could also serve as
evidence in legal or regulatory actions addressing potential misconduct. Such transparency is

essential to restoring investor trust and ensuring accountability for any wrongdoing.

111. Clifton DuBose, CEO of NBH, outlined concerns in his communication regarding
outstanding short positions in NBH shares and the negative impact on investors caused by

FINRA’s actions, including the December 9, 2022, trading halt.

112. The letter also proposed a temporary trading period to facilitate the reconciliation of shares

and sought FINRA’s cooperation in addressing discrepancies to maintain market integrity.

113. FINRA, however, did not concur with Du Bose's recommendations and failed to

provide any meaningful remedy in its response letter dated June 7, 2023.

114. On January 15, 2024, NBH executives, including CEO Clifton DuBose and CFO Luke
Hawkins, resigned without addressing shareholder concerns about unresolved trading issues
during the MMTLP-to-NBH transition. These resignations occurred amidst ongoing market

uncertainty.

115. On or about July 15, 2022, NBH received its own Central Index Key (CIK) number,
0001936756, in preparation for its planned spin-off from MMTLP. This was the same CIK
initially assigned to Pole Perfect, subsequently used by TRCH, then MMAT, and now NBH,
while MMAT remains a legal entity.

116. A supplemental FAQ was published by FINRA on November 6, 2023, 332 days after the
trading halt. Like the initial FAQ, this document failed to clearly define the “extraordinary event”
that warranted the halt.

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117. Despite tens of thousands of complaints submitted by shareholders through Schwab,
FINRA, the SEC, and Congressional Representatives, the supplemental FAQ marked only the

second significant communication from FINRA about the halt.

118. To date, these two FAQs remain FINRA’s only substantive communications with

shareholders regarding the trading halt.

119. On September 27, 2023, during a House Financial Services Committee hearing,

Representative Ralph Norman questioned SEC Chair Gary Gensler about MMTLP.

120. Norman inquired if Gensler was familiar with MMTLP and aware of its aggregate share
count as of December 8, 2022. Gensler appeared to vaguely acknowledge familiarity with
MMTLP. He admitted he did not know the specific share count and suggested that the

information might be publicly available. This was a false statement.

121. Dissatisfied with the SEC’s responses, Norman indicated plans to send another letter

seeking detailed information.

122. On December 22, 2023, Representative Ralph Norman led an open letter addressed to
FINRA and the SEC concerning the MMAT Series A Preferred Shares MMTLP. This letter was

co-signed by 74 members of Congress.

123. On February 2, 2024, 6 days after the deadline on the open letter, Gensler, Chairman of the
SEC responded by letter. In this letter, Gensler stated that requests for information sought by
FINRA, and for analyses performed by FINRA, are best answered by FINRA. Thus, Gensler,
referred these members of Congress back to FINRA.

124. Within this same letter, Gensler directed Congress to the public disclosures from NBH to

ascertain the shares outstanding. Thus avoiding all discussion of short interest, FTD’s.

125. This same letter also stated that the blue sheets and the CAT data are kept confidential and
are protected by exemptions to FOIA. It further went on to state that because the SEC performs
enforcement investigations on a confidential basis, they cannot acknowledge the existence or

non-existence of any investigations unless or until charges are filed.

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126. On February 6, 2024 Representative Ralph Norman posted a copy of the response letter
from the SEC. Stating that he’d “just received an empty response from the SEC,” and that this
was “COMPLETELY UNACCEPTABLE!!!”

127. On June 5, 2024, over 40 Members of Congress, led by Representatives Ralph
Norman and Pete Sessions, sent a follow-up letter to SEC Chairman Gary Gensler. The letter
reiterated requests for an investigation into FINRA’s U3 halt on MMTLP shares and the

subsequent unresolved trading discrepancies.

128. The letter emphasized that FINRA’s actions led to widespread investor harm and
confusion, referencing over 40,000 letters from affected constituents. It called for transparency,

an independent audited share count, and a briefing on the SEC’s findings.

129. As of December 04, 2024, there is no publicly available information indicating that
Representative Ralph Norman's letter to the SEC and FINRA regarding MMTLP has led to any

significant regulatory actions or policy changes.

130. While these two letters, co-signed by 114 members of Congress, called for a
comprehensive review of the events surrounding MMTLP, the SEC and FINRA have not

publicly disclosed any substantial measures taken in response.

131. Brda and CEO George Palikaras of MMAT were charged by the SEC with securities fraud
on June 25, 2024.

132. MMAT declared bankruptcy on August 9, 2024. Its final filing under CIK 0001431959
occurred on September 20, 2024.

133. On October 2, 2024, University Lands issued a formal termination letter to Hudspeth
Operating (hereinafter referred to as “HUBOp”) a subsidiary of NBH, citing breaches of the
Development Unit Agreement (DUA) due to non-payment of annual royalties and HudOp’s
failure to fulfill its drilling obligations for the 2024 operational year.

134. The termination letter also highlighted HudOp’s lack of any concrete plans for future
development of the Orogrande lease, further demonstrating its failure to meet the terms of the

agreement. University Lands demanded the release of the lease within 90 days and retained the

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right to pursue legal remedies if HudOp failed to comply with its environmental responsibilities,

including plugging existing wells and remediating the land.

135. The termination letter also highlighted HudOp’s lack of concrete plans for future
development of the Orogrande lease, further demonstrating its failure to meet the agreement's
terms. University Lands demanded the release of the lease within 90 days and retained the right
to pursue legal remedies if HudOp failed to address its environmental responsibilities, including

plugging existing wells and remediating the land.

136. In response to the October 2, 2024, lease termination, McCabe, Chairman and CEO of
NBH, expressed disappointment with University Lands’ decision, framing it as a setback for the

company.

137. However, NBH has taken no formal corporate measures to address the lease termination,
leaving shareholders questioning the company’s commitment to the Orogrande project and its
broader operational strategy. This inaction has further fueled concerns about NBH’s management

and the viability of its core assets.

138. In early November 2024, a small group of investors got together and drafted a
Shareholder Request for Information (RFI) in an effort to get answers from NBH regarding

multiple issues, such as the lost University Lands Lease.

139. The RFI was sent separately by Spears and approx. 9 other shareholders. The RFI letters
were sent via email to the NBH Investor Relations website. The emails were confirmed as early
as November 11, 2024. Additionally, these RFI’s were sent by USPS Registered &/or Certified
Mail to NBH’s registered address at 6300 Ridglea Pl, Suite 950, Fort Worth, TX, 76116.

Investors were informed of receipt of these letters as early as November 13, 2024 via the USPS.

140. Despite the legal rights granted under Texas Business Organizations Code Section 21.218
and Nevada Revised Statutes Chapter 78.257, NBH failed to provide any response to the
multiple letters sent via email and certified mail. These Request for Information (RFID) letters

requested a response within a specified 14-day deadline.

141. Having gotten no response to the RFI, these same shareholders together with Spears drafted
a formal demand for a Books and Records Check (BRC). This document condensed the

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questions asked on the RFI. Shareholders deliberately chose fewer questions and asked for less
documentation than requested in the RFI. This decision was made to give McCabe every

opportunity to meet the 3-day turn around deadline.

142. In an effort to offer transparency and clarity, the shareholders used a licensed Texas process
server to serve McCabe with the BRC. Thus all parties would be aware of the exact deadline,

given the 3-day deadline.

143. The first attempt of service was attempted at 6300 Ridglea Place, Suite 950, Fort Worth, TX
76116. NBH filed a 10-Q with the SEC on September 30, 2024 which provided this address.

144. On Sunday, November 17, 2024, Spears provided the BRC document to the licensed
process server along with the address for service. On Monday, November 18, 2024, Spears was
informed by the process server that the NBH was no longer located at the given address.
Employees within this place of business, (now identified as leased by a company named Valor),
stated that NBH had moved months ago. Spears and the other shareholders were stunned. This
also added a new level of concern as the company moved without notifying investors, the SEC

nor The Texas Secretary of State.

145. Spears did further digging and located a business address for McCabe Petroleum
Corporation (MPC). The BRC, requesting lawful shareholder access to records held by NBH and
McCabe, was finally served on November 19, 2024 when McCabe accepted service at 500 W
Texas Ave Ste 890, Midland, TX 79701.

146. To date, no response has been received from McCabe or NBH to either the RFI or BRC

further compounding shareholder concerns about transparency and corporate governance.

147. This lack of response obstructed the shareholder’s ability to assess management
practices, investigate share discrepancies, and address unresolved concerns, raising

significant questions about transparency and NBH’s adherence to fiduciary obligations.

148. On November 22, 2024, Auxier, one of the shareholders represented by both the RFI and
BRC, issued a Formal Demand Letter to NBH Board of Directors. This demand letter reiterated
entitlement to corporate records under Texas Business Organizations Code Section 21.218 and

applicable federal securities laws.

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149. The demand letter specifically sought explanations regarding the withdrawal of the SEC S-1
filing, the termination of the University Lands Lease and justifications for a $2 million loan
obtained at above-average interest rates. Many other questions were asked. Auxier, Spears and

the other investors are still waiting for answers.

150. On November 25, 2024, NBH issued an official communication via investor relations
email. Amid the announcements, they rather matter of factly added that the company had

relocated its corporate offices from Fort Worth to Midland.

151. NBH offered no explanation as to why the company withheld this information from the
SEC and investors. Nor was there any acknowledgment of what day the company made this

move in office locations.

152. The announcement only offered “Midland” as the new address of the new location. This
contradicted the last two NBH filings with the SEC which were filed September 30, 2024 and
October 8, 2024. Both of these filings listed the Fort Worth address as its business location.

153. USPS records continue to reflect the Fort Worth address, creating confusion and

undermining transparency regarding NBH’s corporate headquarters.

154. NBH’s failure to provide the requested documentation or address substantive
inquiries within the specified response period highlights serious concerns about corporate

transparency and potential violations of fiduciary duties to its shareholders.

155. Throughout 2019 and 2022, the DTCC managed the clearing and settlement processes for
TRCH, MMAT, and MMTLP trades.

156. Investor communications and related records from the period reflect discrepancies in

settlement obligations related to synthetic shares.

157. Throughout 2021 and 2024, regulatory bodies including FINRA, the SEC, and the DTCC
did not coordinate effectively to address market irregularities in TRCH, MMAT, and MMTLP
trading. This lack of coordination contributed to prolonged issues with share reconciliation and

investor harm.

158. From late 2022 through early 2023, AST/EQ, acting as the designated transfer agent,

managed the shareholder reconciliation process during the transition of MMTLP shares to NBH.

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Shareholder records during this period reflected discrepancies in share counts, which were left

unresolved.

159. Throughout 2022 and 2024, regulatory bodies including FINRA, the SEC, and the DTCC
did not coordinate effectively to address market irregularities in TRCH, MMAT, and MMTLP
trading. This lack of coordination contributed to prolonged issues with share reconciliation and

investor harm.

160. Throughout 2023 and 2024, shareholders with valid CUSIP records experienced
ongoing discrepancies in share reconciliation during the MMTLP-to-NBH transition. These

discrepancies remain unresolved, leaving some shareholders without clarity on their holdings.

161. As of the present date, the SEC website has not assigned a CUSIP number for NBH and its
shares, leaving its securities without a standardized identifier for trading or record-

keeping purposes.

162. This absence creates challenges in identifying and managing transactions involving NBHs’
common stock, complicating compliance with financial reporting standards and market

transparency.

163. The lack of a CUSIP number for NBH highlights a gap in ensuring the orderly trading and

tracking of its securities within financial markets.

164. It has been well established that over 18 different internal CUSIPs are or have been used to
track MMTLP holdings in various Broker/ Dealers; such as Robinhood, TradeStation, E*Trade,

JP Morgan, Fidelity, Vanguard, Interactive Brokers, among many others.

165. TDA used internal CUSIP 6DA993019, and Schwab used internal CUSIP 629999590 to
track MMTLP shares that have not yet been converted to NBH through the transfer agent AST/
EQ almost two years after the spin-off to NBH.

166. While the definitive number of outstanding shares still held by broker-dealers
through internal CUSIPs and not registered with AST/EQ is undetermined, even a single Share

not being reconciled highlights a significant issue.

167. Reports and social media posts featuring redacted brokerage statements indicate that

hundreds of individuals, collectively holding thousands of shares, remain affected. In total,

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thousands, if not millions, of shares remain non-reconciled more than two years after the

spin-off, irrespective of the FINRA-imposed U3 halt.

168. The inability to reconcile all MMTLP shares to NBH shares, years later at AST/ EQ,
highlights a major gap in ensuring the orderly trading and tracking of its securities within

financial markets.

169. In January 2021, the Game stop (GME) event unfolded as retail investors, coordinated
through social media platforms like Reddit’s WallStreetBets, initiated a short squeeze targeting

heavily shorted stocks. This led to Game stop's stock price surging over 1,000% within days.

170. Regulators, including the SEC, responded swiftly with public statements about market
volatility and integrity, and brokerages such as Robinhood imposed temporary trading
restrictions, citing liquidity concerns. These restrictions, while controversial, were quickly lifted,

allowing GME trading to resume.

171 Congressional hearings were convened within weeks, featuring testimony from
Robinhood executives, hedge funds, and retail advocates, while regulators pledged to

investigate systemic risks exposed by the volatility.

172. The Games top event ultimately received widespread media attention, immediate
regulatory acknowledgment, and a comprehensive examination of its impact on retail

investors and the broader market.

173. In stark contrast, the MMTLP event began on December 9, 2022, when FINRA issued a
sudden U3 trading halt on MMAT’s Series A Preferred Shares (MMTLP) just two days before

their planned transition into NBH, a private company.

174. Unlike Game stop, where trading resumed promptly after temporary restrictions, the
MMTLP trading halt has remained in effect for 725 days as of December 4, 2024.
FINRA cited an "extraordinary event" to justify the halt but failed to provide a detailed

explanation at the time.

175. The first communication regarding the halt came 97 days later, in March 2023,
through a FINRA FAQ that did not clarify the nature of the "extraordinary event.” A
supplemental FAQ was issued 332 days after the halt but also failed to address key

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concerns, including the allegations of synthetic shares or the systemic failures affecting retail

investors.

176. Despite tens of thousands of complaints submitted to FINRA, the SEC, and Congressional
Representatives, no Congressional hearings or meaningful investigations have taken place.
Shareholders remain unable to trade their positions, and MMTLP investors continue to face

financial harm with no clear recourse.

177. Unlike Game stop, which received immediate regulatory scrutiny and resumed
trading, MMTLP investors have endured prolonged inaction and a lack of accountability,

highlighting significant disparities in how the two events were addressed.

178. In contrast, the Game Stop trading episode and the NBH Fiasco highlights significant
disparities in the public and governmental engagement with market regulation issues,
prompting questions about the consistency and fairness of responses to events affecting retail

investors and market integrity.

179 Institutional market participants, including broker-dealers and market makers,
profited from the creation and trading of synthetic shares during the MMTLP transition. Retail

investors, however, experienced significant financial losses as a result of these trading practices.

180. These institutional participants stand to make considerable profits by not closing their short
positions, particularly when synthetic shares or naked short selling is used as a trading tactic. If
NBH were to declare bankruptcy, all shares would become worthless, relieving short sellers of

all financial liabilities, regardless of the FINRA-imposed U3 halt.

181. Public records and shareholder complaints from 2023 and 2024 indicate systemic delays in
resolving trading discrepancies related to MMTLP shares. Retail investors were left without a

clear resolution or recourse for their financial losses.

182. The prolonged inaction by regulatory bodies, over the last two years, combined with
unresolved trading irregularities, has contributed to diminished trust in the transparency and
fairness of U.S. financial markets. Retail investors remain uncertain about the status of their

holdings and future resolutions.

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183. Institutional market participants engaged in trading practices involving synthetic
MMTLP shares that created an oversupply in the market. This artificial oversupply

contributed to the suppression of legitimate share prices.

184. Retail investors have experienced ongoing difficulties in accessing their investments
in MMTLP shares following the U3 halt. The lack of liquidity has resulted in prolonged

financial uncertainty and loss.

185. To date, FINRA has refused all attempts to provide access to the Blue Sheet records
for MMAT and MMTLP, despite repeated requests from shareholders, legal and government

representatives, or advocacy groups seeking transparency regarding trading activity.

186. This lack of disclosure has obstructed efforts to investigate allegations of naked short
selling, synthetic share creation, and market manipulation during the trading periods in question.
Specifically, Blue Sheet data is critical to understanding the abrupt and unprecedented U3 trading
halt of MMTLP shares on December 9, 2022, and whether such actions were influenced by

irregular or unlawful trading practices.

187. FINRA’s refusal to release these records has exacerbated the financial and emotional harm
suffered by retail investors and has raised significant concerns about regulatory accountability

and oversight in safeguarding market integrity.

188. Shareholders have repeatedly requested audits of MMTLP share discrepancies to
distinguish legitimate shares from synthetic ones. To date, no comprehensive audit has been

conducted, leaving unresolved questions about the status of outstanding shares.

189. Synthetic share creation and trading irregularities during the MMTLP-to-NBH
transitions have contributed to financial harm for retail investors. These actions have

highlighted vulnerabilities in market oversight, transparency, and enforcement.

190. The U3 halt and the prolonged lack of resolution for investors highlight the potential
concerns stemming from FINRA’s privately governed structure, as it may bypass safeguards

designed to promote transparency and oversight.

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191. FINRA’s authority over market participants, particularly in cases of disciplinary or
enforcement actions like the trading halt, underscores its substantial role in securities

regulation and the constitutional considerations of its accountability and governance.

192. Questions regarding FINRA’s constitutional role have been articulated in legal
principles, particularly those involving the non-delegation doctrine, and are highly

relevant to its handling of the MMTLP U3 trading halt issued on December 9, 2022.

193. This doctrine restricts Congress from delegating legislative powers without clear and
specific guidance, yet FINRA operates with broad authority to create rules, enforce them,
and adjudicate disputes, including halting trading activities that significantly impact

investors.

194, Concerns arise as to whether FINRA’s sweeping powers align with Article I of the U.S.
Constitution, given its private governance structure and the lack of intelligible principles guiding

its regulatory actions.

195. The application of these delegated powers during the U3 halt—where investors were
left without access to their assets or meaningful resolution for nearly two years—exemplifies the

constitutional considerations surrounding FINRA’s role.

196. The non-delegation doctrine underscores the importance of ensuring that quasi-
governmental entities like FINRA operate with accountability and within constitutionally defined
limits, particularly in situations where their actions impose significant and lasting consequences

on market participants.

197. Throughout the MMTLP-to-NBH transition, regulatory bodies have deflected
responsibility for addressing trading irregularities, leaving investors without a resolution for two
years. The lack of clear accountability has prolonged market instability and shareholder

uncertainty.

198. Recent rulings, such as Alpine Securities Corp. v. FINRA and SEC v. Sloan, highlight the

constitutional and statutory deficiencies in FINRA’s actions.

IV. FACTUAL AND LEGAL ISSUES
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1. The following legal and factual questions arise from the Plaintiff’s claims and are critical to

determining liability, damages, and appropriate relief in this matter:

a) Whether Defendants violated the Securities Exchange Act of 1934 and other
applicable federal securities laws, particularly by failing to maintain market integrity,
allowing manipulative practices such as the creation and trading of synthetic shares, and

neglecting their statutory duties to protect investors.

b) Whether Defendants engaged in anti-competitive conduct or market manipulation in
violation of the Sherman Antitrust Act and the Clayton Act, fostering a monopolistic

and exploitative environment detrimental to retail investors.

c) Whether FINRA’s issuance of the U3 halt on December 9, 2022, was justified under
applicable laws and regulations, and whether FINRA, SEC, and DTCC demonstrated the

requisite diligence and transparency in resolving the trading halt and its consequences.

d) Whether the SEC, FINRA, and DTCC failed to fulfill their regulatory responsibilities
by supervising one another, enforcing compliance with federal securities laws, and
investigating and addressing synthetic share discrepancies during the MMTLP-to-NBH

transition.

e) Whether FINRA’s governance structure, as a private self-regulatory organization
exercising significant quasi-governmental authority without sufficient oversight, violated
constitutional principles, including the separation of powers, the Appointments Clause,

and the private non-delegation doctrine.

f) Whether the Private Securities Litigation Reform Act of 1995 (PSLRA)
unconstitutionally obstructs retail investors, such as the Plaintiff, from pursuing securities
fraud claims by imposing heightened pleading standards and discovery stays that deny
access to critical evidence, thereby preventing the resolution of claims related to systemic
market manipulation, such as the proliferation of synthetic shares and the FINRA-
imposed U3 halt on MMTLP.

g) Whether GTS and other market participants violated their legal obligations by

engaging in manipulative trading practices, including naked short selling, synthetic

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share creation, and other actions that suppressed legitimate share prices and exacerbated

harm to retail investors.

h) Whether broker-dealers, such as Schwab, breached fiduciary duties owed to retail
investors by facilitating trading irregularities, profiting from the proliferation of synthetic
shares, and failing to reconcile oversold positions, despite their statutory obligation to

safeguard customer securities and funds.

i) Whether AST/EQ and the DTCC failed to accurately reconcile synthetic shares and
legitimate beneficial ownership during the MMTLP-to-NBH transition, leaving retail

investors in financial and legal uncertainty.

j) Whether TRCH, MMAT, and NBH corporate leadership were aware of widespread
trading irregularities, including synthetic share discrepancies, and whether their failure to

act contributed to prolonged harm to shareholders.

k) Whether FINRA, SEC, and DTCC demonstrated negligence, incompetence, or apathy
by failing to investigate and resolve market irregularities, discrepancies in share counts,
and systemic failures to reconcile shareholder accounts, thereby fostering an environment

of regulatory inaction and prolonged harm to retail investors.

1) Whether FINRA and other regulatory bodies acted beyond their statutory and
procedural authority by imposing the U3 halt without providing transparent and timely
justification, violating the principles articulated in SEC v. Sloan and other applicable

precedents.

m) Whether the lack of coordination and communication between the SEC, FINRA, and
DTCC directly contributed to unresolved discrepancies in MMTLP and NBH shares,

leaving investors without clarity, resolution, or access to their assets.

n) Whether retail investors, including the Plaintiff, suffered a violation of their due
process rights due to the lack of clarity, transparency, and recourse options provided
during and after the U3 trading halt, and whether such deficiencies warrant

compensatory, injunctive, and punitive relief.

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0) Whether Defendants failed to disclose material information (e.g., trading irregularities,
synthetic share creation, or share discrepancies) that would have informed investors,

mitigated harm, and preserved market confidence.

p) Whether institutional market participants, including market makers and broker-dealers,
engaged in unjust enrichment by profiting from trading irregularities, exploiting synthetic
shares and naked short positions, and avoiding financial liabilities at the expense of retail

investors.

q) Whether FINRA, SEC, DTCC, and associated broker-dealers violated investor
protection laws by failing to address systemic vulnerabilities and permitting irregularities

that undermined market transparency and fairness.

r) Whether retail investors, including the Plaintiff, are entitled to compensatory and
punitive damages, injunctive relief, and systemic reforms to address the financial and

emotional harm suffered due to the Defendants’ collective misconduct.

s) Whether Defendants' failures, omissions, and alleged misconduct reflect broader
systemic flaws in the regulatory framework governing the securities markets,
necessitating judicial intervention to safeguard market integrity and protect the rights of

retail investors.

t) Whether the refusal to disclose critical trading data, such as Blue Sheets or CAT data,
impeded investors’ ability to investigate claims of market manipulation and reconcile

outstanding share discrepancies, further exacerbating financial harm.

u) Whether retail investors were disproportionately harmed compared to institutional
participants, who avoided liabilities and profited from systemic market irregularities,

creating an inequitable environment in violation of federal securities and antitrust laws.

COUNT IE

Violation of the Securities Exchange Act of 1934 (15 U.S.C. § 78) — Against All Defendants
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1. Defendants violated Section 10(b) of the Securities Exchange Act (15 U.S.C. § 78j(b)) and
Rule 10b-5 (17 C.E.R. § 240.10b-5) by engaging in manipulative practices, including the
proliferation of synthetic shares, creation of artificial supply, and failure to ensure market

transparency.

2. Defendants further violated Section 9(a) (15 U.S.C. § 78i(a)) by manipulating the price of
MMTLP shares through artificial trading conditions, including naked short selling and synthetic

share creation, designed to suppress share value and harm retail investors.

3. FINRA, SEC, DTCC, and AST/EQ violated Section 17(a) (15 U.S.C. § 78q(a)) by failing to
maintain accurate records and ensure market transparency during the MMTLP-to-NBH
transition. Their negligence in reconciling discrepancies in share ownership allowed systemic

irregularities to persist.

4. Corporate Defendants, including TRCH, MMAT, and NBH leadership, violated Section 13(d)
(15 U.S.C. § 78m(d)) by failing to disclose material information regarding beneficial ownership

and discrepancies in outstanding shares.

5. Defendants violated Rule 13b2-2 (17 C.F.R. § 240.13b2-2) by making false or misleading
statements to auditors or failing to maintain accurate financial records related to MMTLP share

discrepancies.
COUNT fh:

Violation of the Sherman Antitrust Act (15 U.S.C. 1-2) and Clayton Act (15 U.S.C.
12—27) — Against All Defendants

6. Defendants violated Section 1 of the Sherman Act (15 U.S.C. § 1) by colluding to facilitate
synthetic share creation, naked short selling, and other anti-competitive practices that suppressed

competition and harmed retail investors.

7. GTS and other market participants violated Section 2 of the Sherman Act (15 U.S.C. § 2) by
seeking to monopolize trading activity in MMTLP shares, engaging in predatory practices to

gain control over supply and demand dynamics.

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8. Regulatory bodies, including FINRA, SEC, and DTCC, violated Section 7 of the Clayton Act
(15 U.S.C. § 18) by failing to prevent concentrated market power and anti-competitive

acquisitions.

9. Defendants collectively violated Section 4 of the Clayton Act (15 U.S.C. § 15), which

provides for recovery of damages resulting from anti-competitive actions.

COUNT IIE:

Negligence — Against All Defendants

10. FINRA, SEC, and DTCC violated Section 15A(b)(6) (15 U.S.C. § 780-3(b)(6)) by failing to
prevent manipulative practices and maintain orderly markets. Their inaction regarding synthetic

share creation and trading irregularities enabled systemic harm.

11. AST/EQ, acting as the designated transfer agent, violated Section 17A(c)(1) (15 U.S.C. §
78q-1(c)(1)) by failing to reconcile share discrepancies during the MMTLP-to-NBH transition,

leaving retail investors in legal and financial limbo.

12. Defendants collectively breached their duty of reasonable care (Restatement (Second) of
Torts § 283), resulting in foreseeable and avoidable harm to retail investors, including the

Plaintiff,

13. Schwab violated Rule 15c3-3 (17 CER. § 240.15c3-3) by failing to safeguard customer

securities, reconcile oversold positions, and conduct trading in good faith.
COUNT IV:

Failure to Resolve the FINRA U3 Halt — Against FINRA, SEC, and DTCC

14. FINRA, SEC, and DTCC violated Section 17A(a)(1) (15 U.S.C. § 78q-1(a)(1)) by failing to
resolve the U3 halt in a timely and transparent manner, depriving shareholders of access to their

investments.

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15. FINRA’s issuance of the U3 halt violated its obligations under Section 19(c) (15 U.S.C. §
78s(c)) and Section 6(b)(5) (15 U.S.C. § 78f(b)(5)) to maintain fair and equitable trading

standards.

16. The SEC and FINRA failed to enforce prompt resolution of the U3 halt, violating their
statutory duties under Section 15A(b)(6) (15 U.S.C. § 780-3(b)(6)).

COUNT V:

Unjust Enrichment — Against All Defendants

17. Defendants violated Rule 10b-5 (17 C.F.R. § 240.10b-5) and Section 29(b) (15 U.S.C. §

78cc(b)) by profiting from illegal contracts involving synthetic shares and oversold positions.

18. Institutional market participants unjustly enriched themselves at the expense of retail

investors by manipulating trading conditions to benefit from suppressed share prices.

COUNT VIL

Breach of Fiduciary Duty — Against Charles Schwab and AST/EQ

19. Schwab and AST/EQ violated their fiduciary duties under Section 36(a) of the Investment

Company Act (15 U.S.C. § 80a-35(a)) by failing to act in the best interests of their clients during

the MMTLP-to-NBH transition.

20. Schwab violated Rule 15c3-3 (17 C.F.R. § 240.15c3-3) by failing to protect customer funds

and securities from systemic discrepancies.

21. AST/EQ violated Section 17A(c)(1) (15 U.S.C. § 78q-1(c)(1)) by neglecting its responsibility

to reconcile share ownership and ensure accurate records.

COUNT VIL

Conspiracy to Commit Fraud — Against All Defendants

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22. Defendants violated Section 10(b) (15 U.S.C. § 78j(b)) and Rule 10b-5 (17 C.F.R. §
240.10b-5) by conspiring to manipulate securities markets through synthetic share creation and

suppressing MMTLP’s value.

23. Defendants violated 18 U.S.C. § 371 by conspiring to defraud the U.S. government and
regulatory systems, as well as 18 U.S.C. § 1349 by engaging in a scheme to commit wire and

securities fraud.

COUNT Viti:

Failure to Supervise — Against FINRA and SEC

24. FINRA and SEC violated Section 15(b)(4)(E) (15 U.S.C. § 780(b)(4)(E)) by failing to
supervise broker-dealers and market makers adequately, enabling manipulative practices like

synthetic share creation.

25. Defendants also violated Rule 15c3-5 (17 C.E.R. § 240.15c3-5) by failing to establish

adequate controls to monitor market access and prevent trading abuses.

COUNT IX:

Emotional Distress (Negligent or Intentional Infliction) - Against All Defendants

26. Defendants’ reckless disregard for foreseeable harm caused emotional distress to Plaintiff,
violating their obligations under Section 15A(b)(6) (15 U.S.C. § 780-3(b)(6)) to protect

investors.

27. Defendants acted with intentional or reckless disregard for the emotional and financial toll of

the U3 halt and systemic irregularities, directly causing harm.

COUNT X:

Breach of Contract and Anticipatory Breach — Against Schwab

28. Schwab violated its contractual obligations to Plaintiff by failing to execute trades, reconcile

share discrepancies, and provide accurate account information during the MMTLP-to-NBH

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transition, as required under Rule 1503-3 (17 C.E.R. § 240.15¢3-3) and U.C.C. § 8-505, which

mandate the protection of customer funds and securities.

29. Schwab breached its implied covenant of good faith and fair dealing, inherent in its
brokerage agreements with the Plaintiff, by refusing to take corrective action to address share

discrepancies and by allowing systemic irregularities to persist.

30. Schwab further committed anticipatory breach of its contractual obligations by issuing emails
and statements to customers indicating that, regardless of FINRA’s resolution of the U3 halt,
MMTLP would never trade again at Schwab. This unequivocal repudiation of its duty to comply
with any potential market resolutions or reinstatement of trading rights constitutes an

anticipatory breach, undermining Plaintiff’s rights under the brokerage agreement.

31. As a direct result of Schwab’s breaches, Plaintiff and other retail investors suffered
significant financial harm, including the inability to trade or recover the value of their MMTLP

investments, and incurred emotional distress due to prolonged financial uncertainty.

Defendant Inclusion Summary

32. The following Defendants, through their actions, omissions, negligence, incompetence, or
intentional misconduct, contributed to systemic market failures, suppressed retail investor rights,
and enabled manipulative and anti-competitive practices. Their collective conduct resulted in
violations of federal securities laws, breaches of fiduciary duty, unjust enrichment, and
significant financial and emotional harm to the Plaintiff. While the specific roles of each
Defendant are detailed throughout this Complaint, the Defendants share culpability for creating

and sustaining the conditions that led to these violations:

33. FINRA, SEC, and DTCC: These regulatory entities are included in Counts I, II, IN, IV, VI,
and VIII for their collective failure to fulfill statutory oversight responsibilities under federal
securities laws. Their negligence enabled the proliferation of synthetic shares, naked short
selling, and systemic market manipulation. FINRA’s issuance of the indefinite U3 halt, without
timely resolution or transparency, further violated its obligations under Sections 17A and 19 of

the Securities Exchange Act. The SEC and DTCC compounded the harm by failing to enforce

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compliance with clearing and settlement standards, leaving retail investors in financial and legal

limbo.

34, GTS: Included in Counts I, II, V, and VII for engaging in naked short selling, creating
synthetic shares, and manipulating market dynamics. GTS exploited regulatory exemptions to
gain monopolistic control over trading activity in MMTLP shares, profiting from suppressed

share prices to the detriment of retail investors.

35. Schwab: Included in Counts I, III, V, VI, IX, and X for breaching its fiduciary and
contractual obligations to safeguard customer securities, reconcile oversold positions, and
execute trades in good faith. Schwab’s anticipatory breach of its brokerage agreements, through
explicit communications stating that MMTLP would never trade again regardless of FINRA’s

resolution, demonstrates a blatant disregard for its clients' rights and financial well-being.

36. AST/EQ (Equiniti): Included in Counts I, III, IV, V, and VI for failing to reconcile synthetic
shares with legitimate beneficial ownership during the MMTLP-to-NBH transition. AST/EQ’s
failure to provide accurate records and resolve discrepancies violated statutory obligations under
Section 17A(c)(1) of the Securities Exchange Act, contributing to systemic harm for

shareholders.

37. Torchlight Energy, Meta Materials, and Next Bridge Hydrocarbons Leadership: Included in
Counts I, II, V, and VII for their roles in perpetuating trading irregularities and synthetic share
proliferation. Corporate executives, including McCabe and Brda, knowingly made misleading
public statements about the value of Orogrande Basin assets and failed to address discrepancies

in MMTLP shares, exacerbating harm to retail investors.

38. Corporate Leadership and Market Participants: The specific acts of recklessness, negligence,
and intentional misconduct by the leadership of the named entities, as outlined in the Acts of
Scienter, underscore their collective culpability. Their roles in enabling synthetic share creation,
engaging in naked short selling, and manipulating market conditions directly contributed to the

harm suffered by the Plaintiff and other retail investors.

39. By their actions and omissions, all Defendants have demonstrated a pattern of negligence,

misconduct, and disregard for their statutory and fiduciary duties. Their collective conduct has

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undermined market integrity, suppressed retail investor rights, and violated federal securities,

antitrust, and consumer protection laws.

Specific Acts of Scienter as Defined Under the Private Securities Litigation Reform Act of 1995
(PSLRA) and Federal Rule of Civil Procedure 9(b):

1. FINRA (Leadership under Robert W. Cook)

a. Reckless issuance of the U3 halt (December 9, 2022): FINRA imposed an
indefinite halt on MMTLP trading without adequate investigation or justification,

despite knowledge of synthetic share proliferation and trading irregularities.

b. Failure to resolve the U3 halt: FINRA neglected its statutory obligation to
resolve the halt in a transparent and timely manner, violating Section 19(c) of the

Securities Exchange Act and causing prolonged financial harm to investors.

c. Intentional inaction despite awareness: Despite documented evidence and
public complaints about synthetic shares, FINRA failed to conduct meaningful

investigations or enforce compliance with federal securities laws.

d. Omission of material facts in public communications: FINRA misled the
market by failing to disclose the reasons for the U3 halt or the steps necessary to

resolve the trading discrepancies.
2. SEC (Leadership under Gary Gensler)

e. Failure to enforce compliance with federal securities laws: The SEC neglected
its oversight duties by failing to investigate or address systemic market

irregularities, including synthetic share creation and naked short selling.

f. Complicity in FINRA’s inaction: The SEC allowed FINRA’s U3 halt to persist
indefinitely without requiring transparency or resolution, violating its statutory

responsibilities under Sections 15A and 17A of the Securities Exchange Act.

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g. Neglect of investor protection responsibilities: Despite knowledge of investor
harm caused by synthetic shares, the SEC failed to act in a manner consistent

with its mission to protect retail investors.

h. Deliberate regulatory apathy: The SEC’s lack of intervention, despite its
authority and duty to supervise FINRA and the DTCC, indicates intentional

disregard for systemic failures.
3. DTCC (Leadership under Frank La Salla)

i. Failure to enforce settlement standards: The DTCC permitted unresolved fails-
to-deliver and synthetic shares to proliferate, violating Section 17A(a)(1) of the

Securities Exchange Act.

j. Neglect of reconciliation duties: Despite its role as a clearing agency, the
DTCC failed to reconcile outstanding shares, leaving retail investors in financial

limbo during the MMTLP-to-NBH transition.

k. Omission of material discrepancies: The DTCC did not disclose known

settlement issues or irregularities, allowing manipulative practices to persist.

|. Facilitation of manipulative trading practices: By failing to enforce proper
clearing and settlement standards, the DTCC knowingly enabled the creation and

trading of synthetic shares.
4. GTS Securities (Leadership under Ari Rubenstein)

m. Naked short selling: GTS engaged in illegal naked short selling, flooding the
market with synthetic shares and suppressing the price of MMTLP stock.

n. Manipulation of supply and demand: GTS intentionally created artificial
trading conditions to benefit from suppressed share prices, directly harming retail

investors.

o. Exploitation of regulatory exemptions: GTS used loopholes and exemptions

in trading regulations to evade accountability for its manipulative practices.

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Profiteering from synthetic shares: GTS knowingly profited from trading

synthetic shares while concealing its role in market manipulation.
5. Charles Schwab (Leadership under Rick Wurster)

p. Trading of synthetic shares: Schwab knowingly facilitated the trading of
counterfeit shares, failing to reconcile oversold positions despite documented

discrepancies.

q. Anticipatory breach of contract: Schwab explicitly informed clients that
MMTLP would not trade again, regardless of FINRA’s resolution,

demonstrating intent to avoid its obligations under brokerage agreements.

r. Neglect of fiduciary duties: Schwab failed to safeguard customer securities

and funds, violating Rule 15c3-3 and fiduciary standards.

s. Failure to address customer complaints: Despite investor concerns and
complaints about trading irregularities, Schwab intentionally ignored its

obligation to act in its clients’ best interests.
6. AST/EQ (Leadership under Jo Palmer)

t. Failure to reconcile shares during the MMTLP-to-NBH transition: AST/EQ
neglected its duties as a transfer agent by failing to provide accurate ownership

records, violating Section 17A(c)(1).

u. Omission of material information: AST/EQ failed to disclose share
discrepancies or conduct due diligence, leaving shareholders in financial

uncertainty.

v. Neglect of due diligence responsibilities: Despite its role as the designated
transfer agent, AST/EQ did not investigate or address irregularities in the

reconciliation process.

w. Facilitation of synthetic share persistence: By failing to provide accurate

records, AST/EQ contributed to the systemic harm caused by synthetic shares.

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7. Torchlight Energy, Meta Materials, and Next Bridge Hydrocarbons Leadership (John
Brda, George Palikaras, Gregory McCabe respectively)

x. Misrepresentation of asset valuations: McCabe knowingly overstated
the valuation of Orogrande Basin assets to inflate shareholder expectations

and attract investments.

y. Encouraging trading despite irregularities: Brda encouraged buy orders
for MMTLP shares while offloading his own holdings during periods of trading

irregularities.

z. Failure to address trading irregularities: Both McCabe and Brda neglected
their fiduciary responsibilities to investigate and resolve synthetic share

discrepancies, despite awareness of the harm caused to retail investors.

aa. Misleading shareholders: Public communications from leadership failed to
disclose critical information about trading irregularities, share discrepancies, and
synthetic share creation, misleading investors about the true state of their

holdings.

Action for Declaratory Judgment & Injunctive Relief #1

Finding the Private Securities Litigation Reform Act (15 us.c. § 78u-4)

Unconstitutional As Applied

Ist ISSUE: SEPARATION OF POWERS

1. Plaintiff incorporates by reference all preceding paragraphs, including FACTS 1
through 219, and asserts that the Private Securities Litigation Reform Act of 1995
(PSLRA) is unconstitutional as applied to this case. The PSLRA’s restrictive provisions
exacerbate the systemic injustices suffered by Plaintiff and other retail investors,

necessitating its invalidation and an injunction against its continued enforcement.

2. The PSLRA infringes upon the separation of powers doctrine by imposing heightened
pleading standards and discovery stays that impede the judiciary’s ability to adjudicate
securities fraud cases effectively. In the context of the MMTLP trading halt, these

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restrictions prevent retail investors from holding FINRA, the SEC, and market
participants accountable for fraudulent conduct and systemic failures. By legislatively
dictating procedural and evidentiary burdens that obstruct access to justice, the PSLRA
undermines the judiciary’s inherent authority to manage litigation and resolve disputes,

constituting an impermissible legislative intrusion into judicial functions.

2ND ISSUE: VIOLATIONS OF THE 1ST, 4TH, AND 15TH AMENDMENTS

3. Plaintiff incorporates by reference all preceding paragraphs.

4. The PSLRA’s stringent pleading requirements violate the First Amendment by chilling
access to the courts. In this case, the requirement to plead fraud with particularity places
an insurmountable burden on retail investors seeking to challenge the systemic
manipulation of MMTLP shares, including synthetic share creation and naked short
selling. These manipulative practices are concealed within the operations of
broker-dealers, clearinghouses, and regulators, making critical evidence inaccessible to
Plaintiffs without discovery. The PSLRA effectively denies investors their right to

petition the government for redress of grievances, a core First Amendment guarantee.

5. The PSLRA violates the Equal Protection Clause of the Fifth Amendment by
disproportionately burdening small retail investors while shielding institutional actors
from accountability. In this case, the Act prevents Plaintiff from pursuing claims against
FINRA, the SEC, DTCC, and market participants who profited from systemic
manipulation. By insulating powerful financial entities, such as broker-dealers and
market makers, from scrutiny, the PSLRA creates a two-tiered system of justice that

favors well-resourced defendants at the expense of individual investors.

6. The PSLRA contravenes the Due Process Clause of the Fifth Amendment by
effectively denying Plaintiff's the opportunity to prove their claims. Its stay of discovery
provisions prevent access to essential evidence—such as FINRA’s decision-making
process for the U3 halt and the DTCC’s reconciliation records for synthetic
shares—while simultaneously imposing heightened pleading standards. This procedural
Catch-22 deprives investors of their right to a meaningful opportunity to be heard, a

fundamental due process guarantee.

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7. The PSLRA violates the Equal Protection Clause of the Fourteenth Amendment as it
applies to state-law securities fraud claims. By preempting state-law remedies and
imposing restrictive federal standards, the PSLRA limits access to justice for mvestors
pursuing claims in state forums. This unequal treatment creates a de facto preference for
corporate defendants, particularly broker-dealers and market makers, in violation of the

Constitution’s guarantee of equal protection under the law.

8. The PSLRA’s safe harbor provision for forward-looking statements is particularly
relevant to this case, as it incentivizes corporate malfeasance. Defendants, including
market makers and corporate leadership, were shielded by this provision despite engaging
in misleading conduct, such as misrepresenting the value of MMTLP shares and
suppressing shareholder access through the U3 halt. This legislative overreach disrupts
the balance between investor protection and corporate accountability, directly

undermining the goals of federal securities laws.

9. The PSLRA’s legislative history demonstrates significant lobbying influence by
industry groups, further evidencing regulatory capture. The Act’s provisions favor
institutional actors, such as those responsible for the manipulation of MMTLP shares,
while denying retail investors a fair opportunity to pursue their claims. This systemic bias
prioritizes the interests of financial entities over the public interest, violating principles of

fairness and trust in the regulatory framework.

10. The PSLRA’s impact on judicial economy is evident in this case. Its procedural
barriers require Plaintiffs to meet heightened pleading standards based on incomplete
information, increasing the likelihood of piecemeal litigation and interlocutory appeals.
Courts are forced to adjudicate motions to dismiss without a full evidentiary record,

leading to inefficiencies that undermine the objectives of federal procedural rules.

11. The PSLRA’s limitations on joint and several liability exacerbate the harm caused by
Defendants’ collusive conduct. In this case, multiple market participants—including
broker-dealers, FINRA, and the DTCC—acted in concert to manipulate MMTLP shares
and suppress retail investor rights. By restricting liability to a proportional basis, the
PSLRA shields culpable entities from full accountability and leaves victims inadequately

compensated for their losses.

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V. RELIEF

1. Declaratory Relief: A judicial declaration that the PSLRA is unconstitutional —_as applied in
this case. Its provisions conflict with fundamental constitutional principles, including separation
of powers, due process, and equal protection, and undermine the rights of retail investors harmed

by systemic market manipulation.

2. Injunctive Relief: An injunction prohibiting the enforcement of the PSLRA’s
provisions, including heightened pleading standards, discovery stays, and safe harbor

protections, in this case and others involving systemic manipulation and regulatory failures.

3. Restoration of Judicial Authority: An order affirming the judiciary’s inherent authority to
manage securities litigation without undue legislative interference, ensuring that investors retain

access to justice and a meaningful opportunity to hold Defendants accountable.

Action for Declaratory Judgement & Injunctive Relief #2

Constitutional Challenge to the Structure and Authority of the Financial Industry

Regulatory Authority (FINRA)

1. The Plaintiff hereby challenges the constitutional authority and corporate structure of the
FINRA on three grounds: separation of powers, the Appointments Clause, and

unconstitutional delegation of legislative power. FINRA wields significant executive
authority—such as suspending trading, enforcing securities laws, and imposing sanctions
—without presidential oversight, violating the President’s Article II duties. Its Board of
Governors, exercising substantial authority under U.S. law, are appointed by FINRA’s

members rather than through constitutionally required processes under the Appointments Clause.
Furthermore, the SEC’s delegation of broad regulatory powers to FINRA represents an
unconstitutional transfer of legislative authority to an entity outside the legislative branch,

compounding the constitutional concerns surrounding its governance and operations.

Allegation 1: Violation of the Separation of Powers

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2. Plaintiff alleges that the FINRA operates in violation of the separation of powers

doctrine established by the United States Constitution. Under Article II, Section 1, all
executive power is vested in the President of the United States, and under Article II, Section 3,
the President is tasked with ensuring that the laws are faithfully executed. These provisions
centralize executive authority and require that any entity exercising executive powers must

remain accountable to the President.

a) FINRA exercises significant executive powers, including suspending trading in
securities, enforcing compliance with the Securities Exchange Act of 1934 (15
U.S.C. § 78), conducting investigations, enacting rules, and imposing sanctions.
However, FINRA operates independently of presidential oversight. Its Board of
Governors is not appointed or removable by the President of the United States
but instead selected by its private membership. Even the SEC, which oversees
FINRA to a limited degree, can only remove FINRA’s Board of Governors for
willful violations of the law, abuse of authority, or unjustified failure to enforce
regulations (15 U.S.C. § 78s(h)(4)(B)). This limited oversight underscores

FINRA’s insulation from presidential control.

b) In Free Enterprise Fund v. Public Company Accounting Oversight Board,
561 U.S. 477 (2010), the Supreme Court held that entities exercising
significant executive authority must remain accountable to the President

to preserve the separation of powers. Like the Public Company

Accounting Oversight Board (PCAOB) in that case, FINRA wields
executive power without sufficient accountability to the executive branch.
This lack of accountability undermines the constitutional framework and in
permissibly impedes the President’s ability to fulfill their constitutional
duties under Article IL.

c) Therefore, FINRA’s structure, which grants it significant executive powers
while shielding it from presidential oversight, violates the separation of powers
doctrine and the constitutional design for ensuring accountability in the exercise

of governmental authority.

Allegation 2: Violation of the Appointments Clause
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3. Plaintiff alleges that the structure and appointment process of the FINRA violate the
Appointments Clause of the United States Constitution, which governs the selection of
officers who exercise significant authority under federal law. Article II, Section 2, Clause 2 of
the Constitution requires that principal officers of the United States be appointed by the President
with the advice and consent of the Senate. Alternatively, Congress may vest the appointment of

inferior officers in the President alone, courts of law, or heads of departments.

d) FINRA’s Board of Governors wields substantial authority under federal law,

including the power to enact rules, enforce securities regulations, conduct

disciplinary proceedings, and impose sanctions. These functions qualify its Board
members as “officers of the United States” under the criteria established in

Buckley v. Valeo, 424 U.S. 1 (1976), which defined officers as individuals exercising
significant authority under U.S. law. Despite this, FINRA’s Board is not appointed by the
President, nor is it confirmed by the Senate. Instead, Board members are selected by
FINRA’s private membership, bypassing the constitutional process for appointing

officers.

e) This appointment process violates the Appointments Clause. Under Free
Enterprise Fund v. Public Company Accounting Oversight Board, 561 U.S.
477 (2010), and Edmond v. United States, 520 U.S. 651 (1997), officers
exercising significant independent authority under federal law must be
appointed in conformity with Article Il. The Supreme Court has emphasized
that the Appointments Clause is essential for maintaining accountability and
separation of powers by ensuring that officers of the United States are

appointed through constitutionally mandated procedures.

f) Furthermore, if members of FINRA’s Board are deemed inferior officers, their
appointments must still comply with the Appointments Clause. They must be
appointed by the President, courts of law, or the head of a department. Since
FINRA’s private membership does not constitute a “department” under

Article II, its process for appointing Board members remains

unconstitutional, even if Board members are classified as inferior officers.

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g) Accordingly, the selection of FINRA’s Board of Governors by its membership
violates the Appointments Clause of the United States Constitution and
undermines the accountability required for individuals exercising

significant authority under federal law.

Allegation 3: Unconstitutional Delegation of Legislative Authority

4, Plaintiff alleges that the delegation of broad regulatory and rule making authority to the
Financial Industry Regulatory Authority (FINRA) violates the non-delegation doctrine enshrined
in Article I, Section 1 of the United States Constitution, which vests all legislative powers in
Congress. This doctrine prohibits Congress from delegating its legislative authority to any entity,
particularly private organizations or entities outside the legislative branch, without clear and

specific guidance.

h) Under the Securities Exchange Act of 1934 (15 U.S.C. § 780-3(b)), Congress
authorized the SEC to delegate significant rulemaking, enforcement, and
disciplinary powers to FINRA. These powers include the ability to draft and
enforce securities regulations, conduct investigations, impose sanctions, and
govern the conduct of broker-dealers. However, Congress provided only minimal
guidance regarding the scope and limits of these powers, effectively granting

FINRA quasi-legislative authority to create and enforce securities laws.

i) The delegation is further problematic because FINRA operates as a private,
self-regulatory organization rather than a public entity directly accountable to the federal
government, Unlike public agencies, FINRA lacks the safeguards of political
accountability inherent in entities operating within the constitutional structure. In A.L.A.
Schechter Poultry Corp. v. United States, 295 U.S. 495 (1935), the Supreme Court
invalidated a delegation of legislative authority to a private industry group, holding that
Congress cannot abdicate its legislative responsibilities or allow private entities to govern
in the absence of clear legislative standards. Similarly, in J.W. Hampton, Jr., & Co. v.
United States, 276 U.S. 394 (1928), the Court held that any delegation of legislative
authority must include an “intelligible principle” to guide its exercise. Congress’s
delegation to FINRA fails this test by granting it sweeping, unsupervised authority with

few meaningful constraints.

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j) If FINRA is deemed part of the federal government, the delegation remains
unconstitutional because it transfers legislative powers to an executive body
without sufficient limitations, violating the separation of powers. If FINRA is
considered a private entity, the delegation is even more constitutionally suspect
because it grants quasi-legislative powers to a body entirely outside the

constitutional framework.

k) Therefore, the SEC’s delegation of legislative authority to FINRA violates the
non-delegation doctrine and in permissibly allows a private, quasi-
governmental entity to exercise powers reserved for Congress under Article I of

the Constitution.

Supplemental Authority from Alpine Securities Corp. v. FINRA

5. On November 22, 2024, the DC Circuit Court of Appeals issued a pivotal decision in Alpine
Securities Corp. v. Financial Industry Regulatory Authority and United States of America, Case
No. 1:23-cv-01506. This decision provides substantial support for Plaintiff's claims, particularly
regarding the U3 trading halt issued by FINRA.

Summary of Alpine Decision

6. The DC Circuit ruled that FINRA’s expulsion orders violated the private non-delegation
doctrine because they took effect immediately without SEC oversight. The court held that private
entities like FINRA must act only as an aid to accountable government agencies that retain
ultimate authority to approve or disapprove the private entity’s actions. The lack of such

oversight rendered FINRA’s actions unconstitutional.

7. In Alpine, the court emphasized: The irreparable harm caused by FINRA’s
actions, including financial ruin and the destruction of Alpine’s business before full SEC review

and the balance of equities and public interest in ensuring fair regulatory processes.

Applicability to Plaintiff’s Case

8. The reasoning in Alpine is directly applicable to this case. The U3 trading halt issued by

FINRA on December 09, 2022 was similarly imposed without any prior validation or review by

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the SEC. This mirrors the unconstitutional delegation of authority identified in Alpine and

resulted in irreparable harm to Plaintiff.

9. As in Alpine, injunctive relief is the only adequate remedy to prevent further harm and to
restore the integrity of the market. Plaintiff respectfully requests this Court to issue relief
consistent with Alpine, mandating a resumption of trading in MMTLP to allow the market to

function properly and enable Plaintiff and other investors to close their positions.

Supplemental Authority from SEC v. Sloan

10. In SEC v. Sloan, 436 U.S. 103 (1978), the U.S. The Supreme Court addressed the legality of
trading halts implemented by the SEC, establishing critical limitations on the scope and duration
of such regulatory actions. The Court held that a trading halt could be imposed for no longer than
ten days unless specifically authorized by Congress. This landmark decision underscored the

necessity for regulatory agencies to act strictly within the bounds of their statutory authority.

11. The Sloan Court found that the SEC violated its own rules by extending a trading halt beyond
the permissible ten-day limit, thereby infringing on shareholders' rights and disrupting market

operations without proper justification.
The ruling emphasized two central principles;

1. Regulatory agencies must adhere to statutory and procedural limits in exercising their

authority and

2. Prolonged trading halts require clear congressional authorization to avoid undue harm

to market integrity and investor rights.

Applicability to Plaintiff's Case

12. The Sloan decision is directly relevant to the circumstances surrounding FINRA’s
indefinite es articulated by the Supreme Court apply equally to FINRA’s regulatory

authority. By imposing an indefinite halt without SEC review or statutory authorization,
FINRA has exceeded the legal limitations outlined in Sloan. The failure to define or justify the

“extraordinary event” allegedly warranting this indefinite halt further compounds the overreach.

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13. The Supreme Court’s decision in Sloan establishes a compelling precedent that
regulatory actions—such as trading halts—must be; 1. time-limited and supported by
statutory authority and 2. implemented transparently to ensure protection of shareholder rights

and market stability.

14. In this case, FINRA’s indefinite U3 halt stands in direct conflict with these principles. The
halt has effectively deprived shareholders of their right to trade, caused irreparable harm, and
undermined market integrity. Like the SEC in Sloan, FINRA’s actions lack the procedural

safeguards and statutory authorization required to justify such an extraordinary measure.

Reinforcing the Need for Injunctive Relief

15. The Sloan precedent reinforces Plaintiff’s request for injunctive relief to restore trading in
MMTLP. FINRA’s actions mirror the regulatory overreach condemned in Sloan, creating an
urgent need for judicial intervention to protect the rights of investors and the integrity of the

market.

Integration of Sloan with Alpine

16. When viewed in conjunction with the DC Circuit’s recent decision in Alpine Securities Corp.
vy. FINRA, Sloan further demonstrates that FINRA’s unchecked regulatory actions violate
established legal principles. Sloan highlights the statutory limits on trading halts, while Alpine
addresses the constitutional deficiencies of FINRA’s lack of government oversight. Together,

these cases present a comprehensive legal basis for the relief sought by Plaintiff.

WHEREFORE

j) Declaratory Relief: A judicial declaration that the Private Securities Litigation
Reform Act of 1995 (PSLRA), as applied in this case, is unconstitutional. Its
provisions conflict with fundamental constitutional principles, including the

separation of powers, due process, and equal protection, and obstruct the rights of retail

investors harmed by systemic market manipulation.

k) Injunctive Relief: An order enjoining the enforcement of the PSLRA’s

provisions that impose heightened pleading standards, discovery stays, and safe harbor

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protections, as these provisions violate constitutional guarantees and exacerbate systemic

barriers to justice for retail investors.

1) Declaratory Judgment on Access to the Courts: An order and judgment pursuant
to 28 U.S.C. §§ 2201, 2202 declaring that the PSLRA violates the First
Amendment by effectively denying investors their right to petition the

government for redress of grievances through judicial processes.

m) Declaratory Judgment on Equal Protection: An order and judgment pursuant to
28 U.S.C. §§ 2201, 2202 declaring that the PSLRA violates the Equal Protection Clause
of the Fifth Amendment by disproportionately burdening small investors and shielding

institutional actors, thereby creating a two-tiered system of justice.

n) Declaratory Judgment on Due Process: An order and judgment pursuant to 28 U.S.C.
§§ 2201, 2202 declaring that the PSLRA’s heightened pleading requirements and
discovery stays violate the Due Process Clause of the Fifth Amendment by denying

Plaintiff's the ability to access critical evidence needed to substantiate their claims.

0) Declaratory Judgment on State Remedies: An order and judgment declaring that the
PSLRA violates the Equal Protection Clause of the Fourteenth Amendment by
preempting state-law securities fraud claims and imposing federal standards that

disproportionately disadvantage individual investors.

p) Declaratory Judgment on Safe Harbor Provisions: An order and judgment
declaring that the PSLRA’s safe harbor provision for forward-looking statements
unconstitutionally incentivizes fraudulent conduct, undermines market integrity, and
violates the fundamental purposes of securities laws to protect investors and deter

malfeasance.

q) Injunctive Relief on Judicial Economy: An order enjoining the continued
enforcement of the PSLRA’s provisions that increase inefficiencies and piecemeal
litigation by forcing courts to adjudicate motions to dismiss without a complete

evidentiary record.

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r) Declaratory Relief on Liability Provisions: An order and judgment declaring that the
PSLRA’s limitations on joint and several liability for defendants unconstitutionally shield
culpable parties who engage in fraudulent schemes, thereby leaving victims inadequately

compensated.
17. Plaintiff prays for judgment in his favor and relief as follows:

a) Declaratory Judgment 1 & Injunctive Relief: Issue a declaration and corresponding
injunctive relief finding that the Private Securities Litigation Reform Act (15 U.S.C. §
78u-4) is unconstitutional as applied to this case, as it unduly restricts access to justice for

retail investors and infringes upon their constitutional rights.

b) Declaratory Judgment 2 & Injunctive Relief: Issue a declaration and corresponding
injunctive relief challenging the structure and authority of the Financial Industry
Regulatory Authority (FINRA) as unconstitutional, given its lack of adequate
governmental oversight and accountability, which has resulted in improper and
prejudicial actions, including the imposition and handling of the U3 trading halt on

MMITLP shares.

c) A declaration that Defendants’ actions and omissions violated federal securities laws,

including Section 10(b) of the Securities Exchange Act (15 U.S.C. § 78}(b)), Rule 10b-5
(17 C.ER. § 240.10b-5), and other applicable federal regulations, as well as the Sherman
Antitrust Act (15 U.S.C. §§ 1-2), the Clayton Act (15 U.S.C. §§ 12-27), and fiduciary

duties owed to retail investors.

d) A declaration that FINRA’s U3 trading halt on MMTLP shares, imposed on December
9, 2022, and lifted on December 13, 2024, was improper, prejudicial, and constituted a
violation of regulatory responsibilities owed to the investing public, thereby causing

material harm to over 65,000 shareholders, including Plaintiff.

e) An order awarding compensatory damages to Plaintiff in an amount to be determined

at trial, including:

i. The loss of value and liquidity of Plaintiff’s MMTLP shares resulting from

Defendants’ misconduct.

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ii. Damages arising from the suppression of share prices and trading opportunities

caused by synthetic share creation, naked short selling, and the improper U3 halt.

iii. Recovery of Plaintiff’s documented financial losses exceeding $75,000,

along with additional losses sustained from systemic harm to market value.

f) An award of compensatory damages, not less than $500,000, for emotional distress and
mental anguish caused by Defendants’ prolonged misconduct, failure to resolve the U3

halt, and refusal to provide clarity or remedies for trading irregularities.

g) An order awarding treble damages pursuant to the Sherman Antitrust Act (15 U.S.C. §
15) and the Clayton Act for Defendants’ anti-competitive practices, which restrained
market competition, fostered monopolistic environments, and caused disproportionate

harm to retail investors, including the Plaintiff.

h) An order requiring injunctive relief to ensure market transparency and prevent similar

systemic failures, including:

i. A full audit of all MMTLP and MMAT share transactions, including the
identification and reconciliation of synthetic shares and beneficial ownership

records.

iv. The public release of all records, communications, and trading data related to
MMTLP and MMAT shares, including information held by FINRA, DTCC,

broker-dealers, and other involved parties.

vi. A mandate requiring Defendants, including regulatory bodies and corporate
leadership, to implement and enforce enhanced oversight mechanisms to prevent
the proliferation of synthetic shares, naked short selling, and other manipulative

practices.

j) An order requiring the disgorgement of profits wrongfully obtained by Defendants
through the trading of synthetic shares, naked short selling, and related market
manipulation, including unjust enrichment by market makers, broker-dealers, and transfer

agents.

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k) An award of punitive damages to deter Defendants and others from engaging in similar

wrongful conduct in the future.

1) An order requiring the Securities and Exchange Commission (SEC) and Financial

Industry Regulatory Authority (FINRA) to:
vii. Establish clearer guidelines for regulatory intervention in cases of market
irregularities.
viii. Improve oversight and accountability measures to ensure transparency in

corporate actions, trading halts, and share reconciliations.

1) A declaration that the arbitration agreement entered into with Schwab, formerly TD
Ameritrade, be deemed null and void pursuant to violations of the Sherman

Antitrust Act (15 U.S.C. § 1) and the Clayton Act (15 U.S.C. § 14), as the agreement was
tied to and perpetuates anti-competitive practices and monopolistic behaviors that restrain

trade and suppress competition.

m) An order affirming Plaintiff’s entitlement to equitable relief for the market and
procedural irregularities affecting MMTLP shares, including the submission of TDA
(Schwab) trade confirmations (sell orders), ranging from $362.00 to $420.00 per share,
for 7,300 shares, as reward for the improper halting of trades intended for December 9
and 12, 2022

o) An award of pre and post-judgment interest on all compensatory damages to
account for the time value of Plaintiff’s losses and to ensure full recovery of the harm

caused.

p) An award of “tax gross-up.” A reward for the serious mental health issues

suffered by the Plaintiff. TDA’s (Schwab) culpability in the handling of the halt, the lack
of transparency coupled with the complete lack of communication. Plaintiff at the courts
discretion, could be compensated for the hundreds of hours spent having to do research,
making hundreds of phone calls to regulators, Congressmen, TDA, Schwab, IRS, DOJ
and many other entities and parties, letter writing and emails, space calls and the hours

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spent working with other shareholders to find a resolution. These actions caused serious

harm to Plaintiff’s relationship with friends and family.

q) An award of Plaintiff’s reasonable costs and expenses incurred in pursuing this action,

including court fees, filing fees, and any costs associated with expert analysis or

testimony.

r) Any such other relief as the Court may deem just, equitable, and proper to ensure

accountability for Defendants’ misconduct and restore trust in the U.S.

financial markets.

VI. DEMAND FOR JURY TRIAL

1. The Plaintiff hereby demands a trial by jury for all claims and issues that may be tried as of

right pursuant to Rule 38 of the Federal Rules of Civil Procedure.

Dated: December 04, 2024

cert,

“SO pom —

Danielle D Spears, Pro Se
12206 West Harrison Street, Avondale, AZ
85323

CERTIFICATION OF PLAINTIFF PURSUANT TO FEDERAL SECURITIES LAWS

I, Danielle Spears, duly certify and say, as to the claims asserted under the federal securities

laws, that I declare under penalty of perjury that the foregoing is true and correct to the best of

my knowledge and belief.

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Executed on December 04, 2024.

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